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 8                              UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
10

11    OSCAR PEREZ-MARQUEZ,                            Case No. 2:17-cv-01501-RFB-BNW
12                      Petitioner,                   ORDER
13           v.
14    JO GENTRY, et al.,
15                      Respondents.
16

17          Respondents having filed an unopposed Motion for Enlargement of Time (first request)

18   (ECF No. 78), and good cause appearing;

19          IT THEREFORE IS ORDERED that Respondents' unopposed Motion for Enlargement of

20   Time (first request) (ECF No. 78) is GRANTED. Respondents will have up to and including

21   September 25, 2020, to file and serve their response to the Second Amended Petition (ECF No. 68).

22          DATED: July 29, 2020.
23                                                              ______________________________
                                                                RICHARD F. BOULWARE, II
24                                                              United States District Judge
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